                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE



UNITED STATES OF AMERICA                            )
                                                    )
V.                                                  )              No. 2:11-CR-81
                                                    )
WILLIAM McMAHAN, ET AL.                             )



                          REPORT AND RECOMMENDATION

        On April 21, 2010, defendant Rodney Tullock was driving his vehicle on Highway

321 between Greeneville and Newport, Tennessee. He was stopped by a trooper of the

Tennessee Highway Patrol, and a subsequent consensual search of defendant’s vehicle

revealed a number of prescription pill bottles that bore the name of the same doctor, and all

of which had been filled at the same pharmacy in Tampa, Florida. Also discovered was a

prescription bottle containing 170 Oxycodone pills.

        Defendant has filed a motion to suppress any evidence of the pill bottles and pills,

claiming that the trooper had no probable cause to stop him. (Doc. 266). An evidentiary

hearing was held on December 7, 2011. This motion has been referred to the magistrate

judge pursuant to the standing order of this Court and 28 U.S.C. § 636.

        As an initial matter, it is noted that defendant does not claim in his motion that he did

not consent to the trooper’s search of his vehicle after the traffic stop. He makes only one

argument – that he committed no traffic offense, and the trooper had no probable cause to

stop him.


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       The only witness who testified was Trooper Jacob Stielow of the Tennessee Highway

Patrol. Trooper Stielow was extremely credible, and his entire testimony is believed, without

qualification.

       On April 21, 2010, Trooper Stielow was patrolling the roadways in Greene County,

Tennessee. Earlier that day, he received a telephone call from Agent Wilhoit of the

Tennessee Bureau of Investigation, who told him to be on the lookout for a maroon Chevy

van and, if he could do so, develop probable cause to effect a traffic stop of that vehicle and

thereafter search it.

       A maroon van passed Trooper Stielow and he wondered if it might be the van

mentioned by Agent Wilhoit. However, Trooper Stielow was emphatic that his primary

motivation in stopping the van was an observed traffic offense, as opposed to a drug

interdiction effort. Of course, a traffic stop, even if pretextural, is admissible under the

Fourth Amendment so long as there was independent probable cause to believe that a traffic

offense was committed. See, Whren v. United States, 517 U.S. 810 (1993); United States

v. Ferguson, 8 F.3d 385 (6th Cir. 1993). As hereafter discussed, there was probable cause

for Trooper Stielow to believe that defendant committed a trafficking offense. As noted

above, he unequivocally testified that his primary motivation was the traffic offense itself,

not Agent Wilhoit’s request that a maroon van be stopped as part of a drug investigation. In

the final analysis, it makes absolutely no difference, since there was probable cause to

believe that a moving vehicle offense had been committed.

       Trooper Stielow testified that defendant was following another vehicle, and that he

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was “following too closely” in violation of Tenn. Code Ann. § 5-8-124. That statue reads

as follows: “The driver of a motor vehicle shall not follow another vehicle more closely than

is reasonable and prudent, having due regard for the speed of such vehicles and the traffic

upon and the condition of the highway.”

       Defendant’s counsel, in his cross examination of Trooper Stielow, exerted

considerable effort in an attempt to demonstrate that defendant was not following the vehicle

in front of him too closely. Also, he noted that the statute itself is vague, leaving a great deal

of discretion to the officer regarding whether a vehicle is following another too closely.

       Although the statute itself does not specifically describe what is “too close,” the

Tennessee Drivers’ Manual provides that vehicles should maintain at least one car length for

every ten miles per hour. The Tennessee Court of Criminal Appeals has held that Tenn.

Code Ann. § 55-8-124(a) is not unconstitutionally vague, and does not provide law

enforcement officers with too much discretion, State v. Harton, 108 S.W.3d 253, 260 (Tenn.

App. 2002). The Sixth Circuit Court of Appeals, in a rather perfunctory manner, also has

concluded that the statute is not unconstitutionally vague, United States v. Walton, 2007 WL

4395577 (6th Cir. 2007).

       Since the statute is not unconstitutionally vague, the only issue is whether or not

Trooper Stielow legitimately believed that the defendant was following too closely the

vehicle in front of him. Trooper Stielow testified, rather common sensically, that a host of

factors come into play in making that determination, not the least of which is the speed of the

respective vehicles, and road and weather conditions. He judges the situation from the

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perspective of the leading car making a “dynamic stop” – i.e., “standing on the brakes” – and

whether the following car under those circumstances would be able to make its own

emergency stop without crashing into the rear of the lead vehicle. Most people with years

of driving experience are quite capable of instantly evaluating the emergency stopping

distance between them and the lead vehicle, instinctively knowing how much space should

prudently be allowed. Trooper Stielow concluded that defendant was following too closely

under all the prevailing circumstances. Trooper Stielow was the only witness, and he was

extremely knowledgeable, forthright, and credible. In short, he is believed. He had probable

cause to believe that defendant was following too closely.

       It is respectfully recommended that defendant’s motion to suppress, (Doc. 266), be

denied.1

       Respectfully submitted,


                                                      s/ Dennis H. Inman
                                                  United States Magistrate Judge




       1
        Any objections to this report and recommendation must be filed within fourteen (14)
days of its service or further appeal will be waived. 28 U.S.C. § 636(b)(1).

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